

Matter of Attorneys in Violation of Judiciary Law § 468-a (Hyun Bin Cho) (2025 NY Slip Op 01033)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Hyun Bin Cho)


2025 NY Slip Op 01033


Decided on February 20, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 20, 2025

PM-50-25
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Hyun Bin Cho, Respondent. (Attorney Registration No. 4489530.)

Calendar Date:January 27, 2025

Before:Pritzker, J.P., Lynch, Reynolds Fitzgerald, Ceresia and Fisher, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Mischel &amp; Horn, P.C., New York City (Richard E. Mischel of counsel), for respondent.




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	Motion by respondent for an order reinstating her to the practice of law following her suspension by September 2024 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 230 AD3d 1498, 1504 [3d Dept 2024]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).

Upon reading respondent's notice of motion and affidavit with exhibits sworn to December 10, 2024, the affirmation with exhibits of respondent's counsel dated December 13, 2024, the supplemental affirmation with exhibits of respondent's counsel dated January 14, 2025 and the January 21, 2025 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is

ORDERED that respondent's motion for reinstatement is granted; and it is further

ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.

Pritzker, J.P., Lynch, Reynolds Fitzgerald, Ceresia and Fisher, JJ., concur.









